
PER CURIAM.
*457Nathan Politte appeals from the Findings of Fact, Conclusions of Law, and Judgment of the motion court denying his Rule 24.0351 motion for post-conviction relief without an evidentiary hearing. We have reviewed the briefs of the parties and the record on appeal and conclude the motion court's findings and conclusions are not clearly erroneous. Rule 24.035(k); Little v. State, 427 S.W.3d 846, 850 (Mo. App. E.D. 2014). An extended opinion would have no precedential value. We have, however, provided a memorandum setting forth the reasons for our decision to the parties for their use only. We affirm the judgment and order pursuant to Missouri Rule of Civil Procedure 84.16(b).

All rule references are to Mo. R. Crim. P. 2014, unless otherwise indicated.

